       UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF WISCONSIN

 SHONDA MARTIN,

                         Plaintiff,
 v.                                                Case No. 14-CV-200-JPS

 COUNTY OF MILWAUKEE, DAVID
 A. CLARKE, JR., XAVIER D.                                    SECOND
 THICKLEN, and JOHN/JANE DOE,                                AMENDED
                                                            JUDGMENT
                         Defendants.


Decision Following Remand. On June 5, 2017, this action came before the
Court, presided over by the Honorable J.P. Stadtmueller, for a trial by
jury. The jury rendered a Special Verdict (Docket #259) on June 7, 2017.
After considering defendants County of Milwaukee and Sheriff David. A.
Clarke, Jr.’s Motion for Partial Summary Judgment (Docket #132) and
defendant County of Milwaukee’s Motion for Judgment as a Matter of
Law, or in the alternative, Motion for a New Trial (Docket #275), the Court
issued an Amended Judgment dated September 28, 2017 (Docket #304).

Defendant County of Milwaukee filed a notice of appeal on October 25,
2017 (Docket #306) and an amended notice of appeal on December 18,
2017 (Docket #325).

On December 20, 2018, this Court received a mandate from the Seventh
Circuit Court of Appeals in Shonda Martin v. Milwaukee County, Nos. 17-
3216 & 18-1060 (Sept. 14, 2018), 904 F.3d 544 (7th Cir. 2018), reversing and
vacating the judgment against defendant County of Milwaukee for
indemnification and remanding with instructions that this Court enter
judgment in favor of the County on that claim.

In accordance with the mandate of the Court of Appeals, this Court issues
a Second Amended Judgment as follows:
       IT IS ORDERED AND ADJUDGED that the plaintiff Shonda
Martin shall have and recover the amount of $1,700,000.00 from defendant
Xavier D. Thicklen on the plaintiff’s claim that he violated the plaintiff’s
right to bodily integrity by causing the plaintiff to engage in unwanted
sexual acts, in violation of the Due Process Clause of the 14th Amendment
(Docket #259);

       IT IS FURTHER ORDERED AND ADJUDGED that defendant
Xavier D. Thicklen’s conduct was malicious or in reckless disregard of the
plaintiff Shonda Martin’s rights and that the amount of $5,000,000.00
($1,000,000.00 per incident) be awarded against defendant Xavier D.
Thicklen as punitive damages (Docket #259);

       IT IS FURTHER ORDERED AND ADJUDGED that the use of
restraints on the plaintiff Shonda Martin during her labor, delivery, and
post-partum care at the hospital was not rationally related to a legitimate
non-punitive governmental interest or was excessive in relation to that
interest, in violation of the Due Process Clause of the 14th Amendment
(Docket #259);

        IT IS FURTHER ORDERED AND ADJUDGED that the
application of defendant County of Milwaukee’s restraint policy and use
of restraints during the plaintiff Shonda Martin’s labor, delivery, and post-
partum care at the hospital did not cause the plaintiff harm (Docket #259);

       IT IS FURTHER ORDERED AND ADJUDGED that defendants
County of Milwaukee and Sheriff David A. Clarke, Jr.’s Motion for Partial
Summary Judgment (Docket #132) be and the same is hereby GRANTED
in part and DENIED in part (Docket #157);

       IT IS FURTHER ORDERED AND ADJUDGED that the plaintiff
Shonda Martin’s Monell claims arising from Counts One and Three of the
Amended Complaint be and the same are hereby DISMISSED (Docket
#157);

       IT IS FURTHER ORDERED AND ADJUDGED that defendant
County of Milwaukee’s Motion for Judgment as a Matter of Law (Docket
#275) be and the same is hereby GRANTED insofar as defendant County
of Milwaukee is entitled to judgment as a matter of law on Count Four
(Indemnification) of the Amended Complaint;




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      IT IS FURTHER ORDERED AND ADJUDGED that defendant
Xavier D. Thicklen was not acting within the scope of his employment for
defendant County of Milwaukee when he violated the plaintiff Shonda
Martin’s constitutional rights;

       IT IS FURTHER ORDERED AND ADJUDGED that the plaintiff
Shonda Martin shall have and recover nothing from defendant County of
Milwaukee on the plaintiff’s indemnification claim pursuant to Wisconsin
Statutes § 895.46;

       IT IS FURTHER ORDERED AND ADJUDGED that the plaintiff
Shonda Martin’s claim for a class action with respect to defendant County
of Milwaukee’s restraint policy for prisoners during their labor, delivery,
and post-partum care be and the same is hereby DISMISSED (Docket
294); and

       IT IS FURTHER ORDERED AND ADJUDGED that Sheriff David
A. Clarke, Jr. and John/Jane Doe be and the same are hereby DISMISSED
as defendants in this action (Docket #294).

                                        APPROVED:




                                        J.P. Stadtmueller
                                        U.S. District Judge

                                         STEPHEN C. DRIES
                                         Clerk of Court
March 5, 2019                            s/ Jodi L. Malek
Date                                     By: Deputy Clerk




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